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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
 UMG RECORDINGS, INC., et al.,                     §
                                                   §
 V.                                                §     CAUSE NO. A-17-CA-365-DAE
                                                   §
 GRANDE COMMUNICATIONS                             §
 NETWORKS, LLC, and PATRIOT                        §
 MEDIA CONSULTING, LLC                             §

                          REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

TO:     THE HONORABLE DAVID EZRA
        SENIOR UNITED STATES DISTRICT JUDGE

        Before the Court are UMG Recording, Inc., et al’s Motion for Partial Summary Judgment

as to Safe Harbor Defense (Dkt. No. 127); the Response (Dkt. No. 143); and the Reply (Dkt. No.

167). The District Court referred the above motion to the undersigned Magistrate Judge for a report

and recommendation pursuant to 28 U.S.C. §636(b) and Rule 1(c) of Appendix C of the Local Rules.

                                        I. BACKGROUND

        As noted in prior orders, this is a suit seeking to hold an internet service provider liable for

copyright infringement allegedly committed by the ISP’s customers.                 The ISP—Grande

Communications—has raised as a defense to the suit one of the “safe harbor” defenses created by

the Digital Millennium Copyright Act. Under the DMCA, a “provider of online services or network

access” may not be held monetarily liable for claims arising out of the provider transmitting, routing,

or providing connections for material through a system or network controlled or operated by or for

it, as long as the provider has:

        adopted and reasonably implemented, and informed subscribers and accountholders
        of the service provider’s system or network of, a policy that provides for the
        termination in appropriate circumstances of subscribers and account holders of the
        service provider’s system or network who are repeat infringers.
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17 U.S.C. §§ 512 (i)(1)(A); (c); (k)(1)(B). In the present motion, Plaintiffs request that the Court

grant summary judgment that Grande is not entitled to the defense as a matter of law.

                            II. SUMMARY JUDGMENT STANDARD

        “Summary judgment is required when ‘the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.’” Trent v. Wade, 776

F.3d 368, 376 (5th Cir. 2015) (quoting FED. R. CIV. P. 56(a)). “A genuine dispute of material fact

exists when the ‘evidence is such that a reasonable jury could return a verdict for the nonmoving

party.’” Nola Spice Designs, LLC v. Haydel Enters., Inc., 783 F.3d 527, 536 (5th Cir. 2015) (quoting

Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986)). “The moving party ‘bears the initial

responsibility of informing the district court of the basis for its motion, and identifying those portions

of [the record] which it believes demonstrate the absence of a genuine issue of material fact.’ ” Id.

(quoting EEOC v. LHC Grp., Inc., 773 F.3d 688, 694 (5th Cir. 2014)); see also Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986).

        “Where the non-movant bears the burden of proof at trial, the movant may merely point to

the absence of evidence and thereby shift to the non-movant the burden of demonstrating by

competent summary judgment proof that there is an issue of material fact warranting trial.” Id.

(quotation marks omitted); see also Celotex, 477 U.S. at 325. “A fact is ‘material’ if its resolution

in favor of one party might affect the outcome of the lawsuit under governing law.” Sossamon v.

Lone Star State of Texas, 560 F.3d 316, 326 (5th Cir. 2009) (quotation omitted). “If the moving party

fails to meet [its] initial burden, the motion [for summary judgment] must be denied, regardless of

the nonmovant’s response.” United States v. $92,203.00 in U.S. Currency, 537 F.3d 504, 507 (5th

Cir. 2008) (quoting Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per


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curiam)). “Once the moving party [meets its initial burden], the nonmoving party must ‘go beyond

the pleadings and by her own affidavits, or by the depositions, answers to interrogatories, and

admissions on file, designate specific facts showing that there is a genuine issue for trial.’” Nola

Spice, 783 F.3d at 536. In deciding a summary-judgment motion, the court draws all reasonable

inferences in the light most favorable to the nonmoving party. Connors v. Graves, 538 F.3d 373,

376 (5th Cir. 2008); see also Nola Spice, 783 F.3d at 536.

                                         III. ANALYSIS

       Plaintiffs assert that the undisputed facts demonstrate that Grande does not qualify for the

DMCA safe harbor, because from October 2010 to June 2017, it did not “reasonably implement”

a policy providing for the termination of repeat offenders. They contend that the policy Grande had

was a policy in name only, was never enforced, and for more than six years Grande did not terminate

a single subscriber for infringement. Grande responds by contending there are fact questions

precluding summary judgment, regarding both the reasonableness of its policy implementation, and

the sufficiency of the infringement notices it received from Rightscorp.

       The most recent courts to examine in detail what is needed to establish the DMCA safe

harbor defense in a suit against an ISP for contributory copyright infringement were those which

have presided over the BMG v. Cox litigation in the Fourth Circuit. See BMG Rights Mgmt. (US)

LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 657 (E.D. Va. 2015), aff’d in part, rev’d in part,

881 F.3d 293 (4th Cir. 2018). The claims in that suit are very similar to those here. BMG sued Cox

Broadcasting, contending that Cox was liable for its subscribers’ copyright infringement, as it had

received millions of notices of infringement, and had allegedly failed to take appropriate action. At

the trial court level, BMG moved for summary judgment on the safe harbor defense raised by


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Cox—the very same defense raised by Grande here. BMG’s argument was much like the Plaintiffs’

here—though Cox purported to have a policy, it was weakly enforced, and resulted in strikingly few

terminations, notwithstanding evidence that Cox did not doubt the validity of the notices of

infringement it received. BMG, 881 F.3d at 303-305. The trial court agreed with BMG, and granted

summary judgment. Cox challenged that ruling on appeal, and raised many of the same arguments

Grande has raised here.

        The BMG court started by stating the basics of what is required to be able to raise a safe

harbor defense. It explained that, at a minimum, a “reasonably implemented” policy had to at least

be occasionally enforced:

        We are mindful of the need to afford ISPs flexibility in crafting repeat infringer
        policies, and of the difficulty of determining when it is “appropriate” to terminate a
        person’s access to the Internet. At a minimum, however, an ISP has not “reasonably
        implemented” a repeat infringer policy if the ISP fails to enforce the terms of its
        policy in any meaningful fashion. See In re Aimster Copyright Litig., 252 F.Supp.2d
        634, 659 (N.D. Ill. 2002), aff'd, 334 F.3d 643 (7th Cir. 2003) (“Adopting a repeat
        infringer policy and then purposely eviscerating any hope that such a policy could
        ever be carried out is not an ‘implementation’ as required by § 512(i).”).

Id. at 303 (citation omitted). This reading of the statute is in line with every court that has discussed

the issue. Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1109 (9th Cir. 2007) (implementation

“requires that a service provider terminate users who are ‘repeat infringers,’” and an ISP must

“terminate[] users who repeatedly or blatantly infringe copyright”); Capitol Records, LLC v. Vimeo,

LLC, 972 F. Supp.2d 500, 515 (S.D.N.Y. 2013) aff’d in part, rev’d in part, 826 F.3d 78 (2d Cir.

2016) (allowing safe harbor because “user accounts violating the Terms of Service were often

terminated upon the receipt of the first DMCA takedown notice,” and “Vimeo disabled user accounts

upon discovery of infringing conduct”); Capitol Records, LLC v. Vimeo, LLC, 826 F.3d 78, 83 (2d



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Cir. 2016), cert. denied, 137 S. Ct. 1374 (2017) (agreeing with trial court that defendant “must have

adopted and reasonably implemented a policy that, essentially, bans users who repeatedly infringe

copyright”); Capitol Records, LLC v. Escape Media Grp., Inc., 2015 WL 1402049 at *10 (S.D.N.Y.

Mar. 25, 2015) (“the relevant question is whether [the ISP] actually terminates the uploading

privileges of repeat infringers under appropriate circumstances”).

       As far as the evidence is concerned, the Fourth Circuit found Cox was not entitled to the safe

harbor defense because Cox “made every effort to avoid reasonably implementing [its] policy,” and

“Cox very clearly determined not to terminate subscribers who in fact repeatedly violated the

policy.” BMG, 881 F.3d at 303. In reaching this conclusion, the Fourth Circuit made a thorough

analysis of the summary judgment evidence. Notably, though it was still far short of what was

required to take advantage of the DMCA safe harbor, Cox actually did more to enforce its

termination policy than Grande. The evidence showed that Cox had a “thirteen-strike” approach:

its receipt of one DMCA notice resulted in no action, receipt of six more notices resulted in Cox

sending a warning email to the customer, receipt of two notices after that led to the customer

receiving a screen requiring him to “acknowledge” receipt of warnings before being able to access

the internet, receipt of tenth and eleventh notices led to Cox suspending service until the subscriber

called a technician, who would reinstate service after a verbal warning, receipt of a twelfth notice

required the customer to call yet another technician who, after another verbal warning would

reinstate service, and, finally, after a thirteenth notice the subscriber would be “considered” for

termination. Id. at 299. The evidence reflected that even after all of this, Cox rarely if ever

terminated users.




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       In this case, Grande had nothing even approximating the system Cox used, as for the six

years before this lawsuit was filed, it never warned a customer they might be terminated, regardless

of how many infringement notices Grande received about that customer. Grande’s corporate

representative on this very issue admitted it had no policy calling for the termination of infringing

subscribers during this time:

       Q.      You would agree with me that Grande did not have a policy that
               provided for the termination of subscribers and account holders who
               were repeat copyright infringers in 2010, right?

       A.      To my knowledge, yes.

       Q.      Same answer for 2011?

       A.      Yes.

       Q.      2012?

       A.      Yes.

       Q.      2013?

       A.      Yes.

       Q.      2014?

       A.      Yes.

       Q.      2015?

       A.      Yes.

       Q.      And 2016?

       A.      Yes.

Dkt. No. 127-21 at 8-9. Grande’s Vice President for Network Engineering and Operations admitted

this as well. He explained that prior to 2010, Grande’s practice was to terminate repeat infringers,


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and to discuss with them the reasons for the termination when they called about it. Dkt. No. 127-3

at 13. As he described it, “we had a policy of turning off all subscribers upon copyright violation

notice, requiring the customer to then contact Grande to discuss the issue, understand what

happened, inform the customer of why they’d been shut off, and take appropriate action from there.”

Id. at 12. Then, beginning in October 2010, the practice of terminating customers ceased, Dkt. No.

127-3 at 12-13, and Grande did not terminate a single infringing customer from October 2010

through May 2017, Dkt. No. 127-7 at 6. This is despite the fact that Grande received “millions” of

notices of copyright infringement from 2010 to 2016, it was tracking over 9,000 customers on its

DMCA “Excessive Violations Report” by late 2016, and it specifically tracked users by the number

of notices Grande received about them. Dkt. Nos. 127-9 at 5; 127-3 at 9. Grande’s corporate

representative further admitted that until 2017, it would not terminate a user for infringement

“regardless of the source of any notice,” “regardless of the content of any notice,” and “regardless

of the volume of notices . . . for a given customer.” Dkt. No. 127-7 at 6-7.

        During the six year period, the only policy that addressed repeat infringement was Grande’s

general Acceptable Use Policy, which among many other things, stated that repeat copyright

infringers could have their service terminated. Dkt. Nos. 143-3( 2012 Policy, including language

that “Grande may terminate the Service provided to any customer or user who is either found to

infringe third party copyright or other intellectual property rights, including repeat infringers. . .” );

143-4 (2013 Policy); 143-5; and 143-8 at 3. Then, in November 2016, for the first time, Grande

posted on its website a specific DMCA policy. Dkt. 143-8 at 4; Dkt. No. 143-7. More than six

months after posting the DMCA policy, and two months after this case was filed, Grande terminated




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its first customer for infringement in nearly seven years. Through the date of the filing of the instant

motion, Grande has terminated a total of 12 users—eleven in 2017, and one in 2018.

        As noted earlier, after it reviewed the evidence of Cox’s implementation of its policy, the

Fourth Circuit described those facts as demonstrating that Cox “made every effort to avoid

reasonably implementing [its] policy,” and “very clearly determined not to terminate subscribers who

in fact repeatedly violated the policy.” BMG, 881 F.3d at 303 (emphasis original). The evidence

here is even stronger. Notwithstanding the terms of the AUP in place until October 2016, the reality

was, in Grande’s own words, it would not terminate a user for infringement “regardless of the source

of any notice,” “regardless of the content of any notice,” and “regardless of the volume of notices

. . . for a given customer.” Dkt. No. 127-7 at 6-7. This amounts to absolutely no implementation

of the policy Grande had allegedly adopted. And, as in BMG, the policy that was actually in effect

for this time was that Grande was determined never to terminate a subscriber, no matter what

information Grande received about that customer allegedly infringing a copyright. It is hard to

imagine a case in which it is more clear that the DMCA safe harbor is not available.

        Notwithstanding this evidence, in an attempt to avoid summary judgment Grande makes two

primary arguments: (1) because it did eventually terminate a handful of customers, there is a fact

question regarding the “reasonableness” of the implementation of its policy; and (2) because there

are numerous deficiencies in Rightscorp’s notices, there is at least a fact question regarding whether

those notices evidenced “appropriate circumstances” for the termination of users. Neither of these

arguments has merit.

        The fact that Grande finally terminated a few subscribers, all after the Plaintiffs sued it, is

plainly not enough evidence to show that Grande had implemented its policy in a consistent or


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meaningful way. Cox, for example, had terminated more customers, and had done so before being

sued, and that was not enough to create a fact issue for trial. BMG, 881 F.3d at 304 (“Before

September 2012, Cox was terminating (and reactivating) 15.5 subscribers per month on average;

after September 2012, Cox abruptly began terminating less than one subscriber per month on

average.”). Further, the evidence is that Grande went for more than six years with a de facto policy

of never terminating a user no matter how many copyright complaints it received about that user;

terminating a dozen users—only after it was sued—is not enough to rehabilitate its complete failure

to implement a policy for the prior six years. The fact is, Grande had no policy in effect for the vast

majority of the relevant time period, and its last minute conversion is too little too late.

        Grande’s complaints about the Rightscorp notices also miss the mark, for a host of reasons.

First, the very same sort of Rightscorp notices at issue here made up a large portion of the notices

that BMG relied on in their suit against Cox. Cox made very similar attacks on those notices, and

also argued that the evidence failed to “prove actual knowledge of repeat infringement.” Id. at 305.

As the Fourth Circuit explained, that argument was misplaced, because “Cox bears the burden of

proof on the DMCA safe harbor defense; thus, Cox had to point to evidence showing that it

reasonably implemented a repeat infringer policy.” Id. The court found Cox failed to show that it

had ever actually followed through and implemented its policy as written, and without such

evidence, there was not a triable issue. Id. The same is the case here. Grande has pointed to no

evidence that it ever considered terminating a user during the relevant period, despite the fact that

there is ample evidence, including internal emails, indicating that it believed many of its customers

were repeat infringers. Without at least some evidence of this sort, it cannot create a fact dispute

related to its defense.


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       Grande also argues that because the Rightscorp notices fail to show actual infringement, there

is no evidence there were “appropriate circumstances” that justified terminating any customers. But

this argument ignores the actual facts. Just as Cox did, Grande has

       failed to provide evidence that a determination of “appropriate circumstances” played
       any role in its decisions to terminate (or not to terminate). [Grande] did not, for
       example, point to any criteria that its employees used to determine whether
       “appropriate circumstances” for termination existed. Instead, the evidence shows
       that [Grande’s] decisions not to terminate had nothing to do with “appropriate
       circumstances”. . . .

BMG, 881 F.3d at 305. Grande has admitted that it would not have terminated any subscribers, no

matter what the circumstances were, prior to June 2017, as the policy in place from 2010 to mid-

2017 was that it would not terminate a user for infringement “regardless of the source of any notice,”

“regardless of the content of any notice,” and “regardless of the volume of notices . . . for a given

customer.” Dkt. No. 127-7 at 6-7. Moreover, the evidence in the record from Grande’s own

documents reflects the opposite of what it now argues—Grande took the Rightscorp (and other)

notices as evidence of infringement. For example, in one email exchange in April 2013, a senior

Grande official asked: “Question - we have users who are racking up DMCA take down requests

and no process or remedy in place. I don’t know if I’m seeing a broken process or compliance with

the letter of the law. Do you guys have insight or knowledge on this?” Dkt. No. 127-22. In the

ensuing conversation, another manager reported back regarding what a Grande affiliate was doing:

             Who is responsible for the DMCA notification process?               Do we call
       customers?

                Bartlett just answered my email, and, as you said, they contact the customer
       and let them know they will disconnect them if they continue to receive those notices.

               If we do nothing more tha[n] emails (as I think you mentioned) we might lose
       our safe harbor status.


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Dkt. No. 127-28. When Grande customers (or IT specialists of customers) contacted Grande

management employees about copyright infringement notices Grande had forwarded to them, the

internal exchanges among Grande employees also make it plain that Grande viewed the notices as

evidence that the customer had infringed on a copyright. See Dkt. Nos. 127-17; 127-30; 127-31.

The criticism of the Rightscorp system and the notices it generated was never made until Grande was

sued, and its lawyers raised these issues. What the lawyers thought of the notices in 2017 is

irrelevant to the question of what Grande thought of them between 2010 and 2017. It is Grande’s

employees’ knowledge that matters, and the evidence is undisputed that those employees believed

the notices reflected that many of Grande’s customers were repeatedly infringing on copyrights.1

       Yet another failure with Grande’s argument about the Rightscorp notices is that it does not

address the several hundred thousand copyright infringement notices it received from companies

other than Rightscorp. The undisputed evidence is that many of the roughly 1.2 million notices of

infringement Grande received between 2011 and 2016 (Dkt. No. 127-7 at 10) came from entities

other than Rightscorp. Thus, for example, in 2015 alone, Grande received 365,569 infringement



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          Grande’s argument about the Rightscorp notices is, in practical effect, very much like an
argument Cox raised in the BMG case. Cox contended that “repeat infringer” as used in the statute
meant an adjudicated repeat infringer, not just one who had been accused of repeat infringement,
and Cox only needed to terminate the internet access of adjudicated repeat infringers to be eligible
to raise the DMCA safe harbor defense. Id. at 301. The Fourth Circuit rejected this argument, based
on an analysis of the Copyright Act and existing case law, noting that Cox had not cited “a single
case adopting its contrary view that only adjudicated infringers can be ‘repeat infringers’ for
purposes of the DMCA.” BMG, 881 F.3d at 302-303. Grande’s argument that its failure to take
action in response to Rightscorp notices does not disqualify it from raising the safe harbor defense,
because the Rightscorp system is “incapable of identifying . . . actual copyright infringement,” Dkt.
No. 143 at 13, is very close to the argument rejected in BMG. Though Grande never explains what
it means by “actual” infringement, it would seem that, practically speaking, it is what Cox called
“adjudicated” infringement.


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notices; 246,322 were from Rightscorp, and 119,247 were from other sources. Dkt. No. 172-18 at

2. Grande has presented no summary judgment evidence undermining the reliability of any of these

other notices. Thus, even if the Court were to accept Grande’s argument that the Rightscorp notices

did not create “appropriate circumstances” for termination, summary judgment would still be

appropriate, as the undisputed evidence shows that Grande failed to terminate a single customer as

a result of its receipt of the several hundred thousand other copyright infringement notices it

received. As noted earlier, the DMCA safe harbor is an affirmative defense, and the burden is on

Grande to demonstrate it has met the threshold needed to raise the defense. Without any evidence

undermining the hundreds of thousands non-Rightscorp notices Grande received from 2010 to 2017,

Grande has not carried that burden.

        In summary, Grande cannot meet the threshold test required by the DMCA to gain the benefit

of the safe harbor. The undisputed evidence shows that though Grande may have adopted a policy

permitting it to terminate a customer’s internet access for repeat infringement, Grande affirmatively

decided in 2010 that it would not enforce the policy at all, and that it would not terminate any

customer’s account regardless of how many notices of infringement that customer accumulated,

regardless of the source of the notices, and regardless of the content of a notice. Consistent with this,

Grande did not terminate a single repeat infringer from October 2010 to June 2017. A “reasonably

implemented” termination policy requires that the policy be enforced, and not just adopted. Because

the evidence is undisputed that Grande never enforced its policy during the relevant time period, it

is precluded from raising the DMCA safe harbor defense in this case.




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                                   IV. RECOMMENDATION

       For the reasons set forth herein, the undersigned RECOMMENDS that the district judge

GRANT UMG Recording, Inc., et al’s Motion for Partial Summary Judgment as to Grande

Communication Networks LLC’s DMCA Safe Harbor Defense (Dkt. No. 127).

                                         V. WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being made.

The District Court need not consider frivolous, conclusive, or general objections. See Battle v.

United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the Report

shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court. See 28 U.S.C. § 636(b)(1)(c); Thomas v. Arn, 474 U.S. 140, 150-53 (1985); Douglass

v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

       SIGNED this 18th of December, 2018.



                                             _____________________________________
                                             ANDREW W. AUSTIN
                                             UNITED STATES MAGISTRATE JUDGE




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